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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                      )
In re:                                                                ) Chapter 15
                                                                      )
CDS U.S. HOLDINGS NEWCO, INC. (f/k/a CDS                              ) Case No. 20-11719 (JKS)
U.S. Holdings, Inc.), et al.,1                                        )
                                                                      )
                                      Debtors.                        ) (Jointly Administered)
                                                                      )
                                                              Objection Deadline: January 4, 2024 at 4:00 p.m. (ET)
                                                                                   Hearing Date: To be determined

  NOTICE OF MOTION PURSUANT TO SECTIONS 105(A), 1507, 1521, AND 1525 OF
  THE BANKRUPTCY CODE AND BANKRUPTCY RULE 9006, FOR ENTRY OF AN
   ORDER (I) RECOGNIZING AND ENFORCING THE FOURTH AVO EXTENSION
    ORDER, EFFECTIVE NUNC PRO TUNC TO THE DATE OF ENTRY THEREOF
      BY THE CANADIAN COURT AND (II) GRANTING RELATED RELIEF


                   PLEASE TAKE NOTICE that on December 21, 2023, Cirque de Soleil Canada

Inc., in its capacity as the authorized foreign representative (the “Foreign Representative”) of the

above-captioned debtors (collectively, the “Debtors”), filed the Motion Pursuant to Sections

105(a), 1507, 1521, and 1525 of the Bankruptcy Code and Bankruptcy Rule 9006, for Entry of an

Order (I) Recognizing and Enforcing the Fourth AVO Extension Order, Effective Nunc Pro Tunc

to the Date of Entry Thereof By the Canadian Court and (II) Granting Related Relief (the

“Motion”) with the United States Bankruptcy Court for the District of Delaware, 824 Market

Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the Motion

is attached hereto.



1
         The last four digits of Debtor CDS US Holdings Newco Inc. (f/k/a CDS Holdings, Inc.) tax identification
number are (7842). Due to the large number of debtor entities in these jointly administered chapter 15 cases, a
complete list of the debtor entities and the last four digits of their federal tax identification numbers as of the Petition
Date are not provided herein. A complete list of such information may be obtained on the website of the Debtors’
noticing agent at www.omniagentsolutions.com/cirquedusoleil. The location of the Debtors’ service address for
purposes of these chapter 15 cases is: 8400, 2e Avenue Montréal, Quebec H1Z 4M6 Canada.

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                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry of the order with respect to the relief sought in the Motion must be filed with the

Bankruptcy Court on or before January 4, 2024 at 4:00 p.m. Eastern Time.

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (a) the Debtors, CDS U.S. Holdings, Inc., 5400

2e      Avenue         Montréal,   Quebec   H1Z     4M6   Canada,     Attn:   Jocelyn    Côté

(j.cote@cirquedusoleil.com); (b) counsel to the Foreign Representative, (i) Kirkland & Ellis

LLP and Kirkland & Ellis International LLP, 601 Lexington Avenue, New York, New York

10022, Attn: Aparna Yenamandra (aparna.yenamandra@kirkland.com); (ii) Kirkland & Ellis

LLP and Kirkland & Ellis International LLP, 300 North LaSalle Street, Chicago, Illinois 60654,

Attn: Chad J. Husnick, P.C. (chad.husnick@kirkland.com), and (iii) Pachulski Stang Ziehl &

Jones LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801, Attn: Laura

Davis Jones (ljones@pszjlaw.com) and Timothy Cairns (tcairns@pszjlaw.com); and (c) the

Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington,

Delaware 19801, Attn: Timothy Jay Fox, Jr. (timothy.fox@usdoj.gov).

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON A DATE AND TIME TO

BE DETERMINED BEFORE THE HONORABLE J. KATE STICKLES, UNITED STATES

BANKRUPTCY COURT JUDGE, AT THE UNITED STATES BANKRUPTCY COURT FOR




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THE DISTRICT OF DELAWARE, 824 MARKET STREET, 5TH FLOOR, COURTROOM

NO. 6, WILMINGTON, DELAWARE 19801.

Dated: December 21, 2022                     PACHULSKI STANG ZIEHL & JONES LLP
Wilmington, Delaware

                                             /s/ Laura Davis Jones
                                             Laura Davis Jones (DE Bar No. 2436)
                                             Timothy P. Cairns (DE Bar No. 4228)
                                             919 North Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, Delaware 19899-8705 (Courier 19801)
                                             Telephone:    (302) 652-4100
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                                                           -and-

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                                                           -and-

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                                             Counsel to the Foreign Representative




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